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Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 2 of 69 PAGEID #: 2
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 3 of 69 PAGEID #: 3
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 4 of 69 PAGEID #: 4
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 5 of 69 PAGEID #: 5
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 6 of 69 PAGEID #: 6
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 7 of 69 PAGEID #: 7
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 8 of 69 PAGEID #: 8
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 9 of 69 PAGEID #: 9
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 10 of 69 PAGEID #: 10
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 11 of 69 PAGEID #: 11
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 12 of 69 PAGEID #: 12
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 13 of 69 PAGEID #: 13
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 14 of 69 PAGEID #: 14
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 15 of 69 PAGEID #: 15
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 16 of 69 PAGEID #: 16
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 17 of 69 PAGEID #: 17
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 18 of 69 PAGEID #: 18
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 19 of 69 PAGEID #: 19
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 20 of 69 PAGEID #: 20
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 21 of 69 PAGEID #: 21
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 22 of 69 PAGEID #: 22
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 23 of 69 PAGEID #: 23
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 24 of 69 PAGEID #: 24
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 25 of 69 PAGEID #: 25
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 26 of 69 PAGEID #: 26
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 27 of 69 PAGEID #: 27
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 28 of 69 PAGEID #: 28
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 29 of 69 PAGEID #: 29
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 30 of 69 PAGEID #: 30
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 31 of 69 PAGEID #: 31
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 32 of 69 PAGEID #: 32
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 33 of 69 PAGEID #: 33
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 34 of 69 PAGEID #: 34
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 35 of 69 PAGEID #: 35
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 36 of 69 PAGEID #: 36
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 37 of 69 PAGEID #: 37
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 38 of 69 PAGEID #: 38
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 39 of 69 PAGEID #: 39
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 40 of 69 PAGEID #: 40
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 41 of 69 PAGEID #: 41
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 42 of 69 PAGEID #: 42
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 43 of 69 PAGEID #: 43
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 44 of 69 PAGEID #: 44
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 45 of 69 PAGEID #: 45
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 46 of 69 PAGEID #: 46
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 47 of 69 PAGEID #: 47
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 48 of 69 PAGEID #: 48
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 49 of 69 PAGEID #: 49
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 50 of 69 PAGEID #: 50
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 51 of 69 PAGEID #: 51
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 52 of 69 PAGEID #: 52
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 53 of 69 PAGEID #: 53
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 54 of 69 PAGEID #: 54
Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 55 of 69 PAGEID #: 55
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Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 62 of 69 PAGEID #: 62
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Case: 2:21-mj-00162-EPD Doc #: 1 Filed: 03/08/21 Page: 65 of 69 PAGEID #: 65
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